829 F.2d 1120Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Johnell PORTER, Plaintiff-Appellant,v.John R. JUSTICE, Mr.; Michael D. Williams; County ofChester, et al., Defendants-Appellees.
    No. 87-6076
    United States Court of Appeals, Fourth Circuit.
    Submitted July 30, 1987.Decided September 15, 1987.
    
      Appeal from the United States District Court for the District of South Carolina, at Rock Hill.  Falcon B. Hawkins, District Judge.  (C/A 86-1985)
      Johnell Porter, pro se.
      Melvin Brice McKeown, Jr., Spratt, McKeown &amp; McCrae, for appellees.
      Before MURNAGHAN and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Porter v. Justice, C/A No. 86-1985 (D.S.C., April 28, 1987).
    
    
      2
      AFFIRMED.
    
    